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12

13                       UNITED STATES DISTRICT COURT
14                     CENTRAL DISTRICT OF CALIFORNIA
15
                                  WESTERN DIVISION
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     JETSEN HUASHI MEDIA US CO.,           Case No. 2:20-cv-08627-SVW-E
18   LTD, a California corporation,
                                           STIPULATION TO EXTEND
19                  Plaintiff,             TIME TO RESPOND TO INITIAL
                                           COMPLAINT BY NOT MORE THAN
20         v.                              30 DAYS (L.R. 8-3)
21   DAMAI ENTERTAINMENT, LLC,             [NO HEARING REQUESTED]
     a California limited liability
22   company; DR. PENG HOLDING
     INC., a California corporation; and   Complaint served: Sept. 24, 2020
23   DOES 1 through 100,                   Current response date: Oct. 15, 2020
24                  Defendants.            New response date: Nov. 16, 2020

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                                                                  Case No.: 2:20-cv-08627-SVW-E

                                    STIPULATION TO EXTEND TIME TO RESPOND TO COMPAINT
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 1                                           STIPULATION
 2         COME NOW, Plaintiff JETSEN HUASHI MEDIA US CO., LTD., a
 3   California corporation, (“Plaintiff”) and Defendants DAMAI ENTERTAINMENT,
 4   LLC, a California limited liability company, and DR. PENG HOLDING INC., a
 5   California corporation (“Defendants”), and file this Stipulation extending the time
 6   for Defendants to answer or otherwise respond to Plaintiff’s Complaint, and in
 7   support thereof state as follows:
 8         WHEREAS, on September 21, 2020, Plaintiff filed a Complaint initiating the
 9   present action;
10         WHEREAS, on September 24, 2020, Plaintiff caused the Complaint to be
11   served on Defendants;
12         WHEREAS, Defendants’ response is due on or before October 15, 2020;
13         WHEREAS, pursuant to Central District Local Rule 8-3, the parties may
14   Stipulate to an extension of time within which to respond to the complaint in an
15   action by not more than thirty (30) days without approval from the Court;
16         WHEREAS, Plaintiff and Defendants stipulate that Defendants shall have an
17   extension of time, to and including November 16, 2020, to respond to the
18   Complaint;
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                                                  1                    Case No.: 2:20-cv-08627-SVW-E

                                         STIPULATION TO EXTEND TIME TO RESPOND TO COMPLAINT
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 1   SO STIPULATED.
 2

 3   DATED:       October 13, 2020          DONAHUE FITZGERALD LLP

 4                                          /s/Andrew S. MacKay
 5                                          Andrew S. Mackay
                                            Attorneys for Plaintiff
 6                                          Jetsen Huashi Media US Co., Ltd
 7
     DATED:       October 13, 2020          KING & WOOD MALLESONS LLP
 8

 9                                          /s/Michael Amberg
                                            Michael Amberg, # 330553
10                                          535 Middlefield Road, Suite 245
11                                          Menlo Park, California 94025
                                            T (650) 858-1285
12                                          F (650) 858-1226
13                                          michael.amberg@us.kwm.com |
                                            Attorney for Defendants
14                                          Damai Entertainment, LLC
15                                          Dr. Peng Holding Inc.
16                      Attestation Pursuant to L.R. 5-4.3.4(a)(2)(i)
17
           I hereby attest that all other signatories listed, and on whose behalf the filing
18

19   is submitted, concur in the filing’s content and have authorized the filing.
20   DATED:       October 13, 2020          /s/Andrew S. MacKay
21                                          Andrew S. Mackay
                                            Attorney for Plaintiff
22
                                            Jetsen Huashi Media US Co., Ltd
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                                               2                       Case No.: 2:20-cv-08627-SVW-E

                                      STIPULATION TO EXTEND TIME TO RESPOND TO COMPLAINT
